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                             UNITED STATES DISTRICT COURT
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                         FOR THE MIDDLE DISTJaCT OF FLORIDA                                   c:^

                               JACKSONVILLE DIVISION
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JOHNETTLINGER,
                                                                                               rxj
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                                                                                                      r
                                                                                                      n
  Plaintiff,                                      CASE NO.: JWCfi-CV'                                  a

-vs-


CREDIT ONE BANK, N.A.,                                                                    ?

 Defendant.
                                     I

                                          COMPLAINT


       COMES NOW Plaintiff, Jolin Ettlinger, by and through the undersigned counsel, and

sues Defendant, Credit One Bank, N.A., and in support thereof respectfully alleges violations of

the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. ('TCPA") and the Florida

Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. ("FCCPA").

                                         INTRODUCTION


        1.     The TCPA was enacted to prevent companies like CREDIT ONE BANK, N.A.

from invading American citizen's privacy and prevent abusive "robo-calls."

       2.      "The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls." Mims v. Arrow Fin. Servs., LLC, -US-, 132 S.Ct., 740,745,181,

L.Ed. 2d 881 (2012).

        3.     "Senator Rollings, the TCPA's sponsor, described these calls as 'the *1256

scourge of modem civilization, they wake us up in the morning; they interrupt our dinner at

night; they force the sick and elderly out of bed; they hound us until we want to rip the telephone

out of the wall.'" 137 Cong. Rec. 30, 821 (1991). Senator Rollings presumably intended to give
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telephone subscribers another option: telling the autodialers to simply stop calling." Osorio v.

State Farm Bank,            746 F. 3d 1242 (11"^ Cir. 2014).
       4.        According to the Federal Communications Commission (FCC), ^Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers

Against Unwanted Robocalls. Texts to Wireless Phones. Federal Communications Commission,

(May 27, 2015), http://transition.fcc.gov/Dailv Releases/Dailv Business/2015/db0527/DOC-

333676Al.pdf.

                                  JURISDICTION AND VENUE


       5.        This is an action for damages exceeding Fifteen Thousand Dollars ($15,000.00)

exclusive of attorney fees and costs.

       6.        Jurisdiction and venue for purposes ofthis action are appropriate and conferred by

28 U.S.C. §1331.

       7.        The alleged violations described in the Complaint occurred in Duval County,

Florida.


                                    FACTUAL ALLEGATIONS


       8.        Plaintiff is a natural person, and citizen of the State of Florida, residing in Duval

County, Florida.

       9.        Plaintiff is a "consumer" as defined in Florida Statute § 559.55(8).

           10.   Plaintiff is an "alleged debtor."

           11.   Plaintiff is the "called party." See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11*^ Cir. 2014) and Osorio v. State Fann Bank, FS.B., 146 F.3d 1242 (11''^ Cir. 2014).
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        12.    Defendant, Credit One Bank, N.A. (hereinafter "Credit One") is a corporation

with its principal place of business located at 585 Pilot Rd., Las Vegas, NV 89119.

        13.    The debt that is the subject matter of this Complaint is a "consumer debt" as

defmed by Florida Statute §559.55(6).

        14.    Credit One called Plaintiff approximately three hundred (300) times since July 1,

2015, in an attempt to collect a debt.

        15.    Credit One attempted to collect a debt from Plaintiff by this campaign of

telephone calls.

        16.    Credit One intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day and on back to back days, with such frequency as can

reasonably be expected to harass.

        17.    On information and belief, the telephone calls were placed using automated

telephone dialing equipment, without human intervention

        18.    Each call Credit One made to Plaintiff was made using an "automatic telephone

dialing system" which has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §

227(a)(1).

        19.    Each call Credit One made to Plaintiffs cell phone was done so without the

"express permission" of Plaintiff.

        20.    Beginning on or about July 1, 2015, Plaintiff began receiving automated calls to

his cellular telephone from Credit One attempting to collect on an outstanding balance.

        21.    On several occasions Plaintiff spoke to agents of Credit One and explained he did

not have the money to pay and to please stop calling him.
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        22.    On September 13, 2015, Plaintiff answered an automated call on his cellular

telephone from Credit One and informed the agent that he had no money at the moment and that

he would make a payment when he had the money to do so.

        23.    On September 14, 2015, Plaintiff answered another automated call on his cellular

telephone from Credit One and informed the agent that he did not want Credit One to call him

anymore and that he would make a payment when he had the frinds to do so. Credit One's agent

told the Plaintiff that as long as Plaintiff owed money Credit One could not stop calling him.

        24.    In approximately early November, 2015, Plaintiff answered an automated call on

his cellular telephone from Credit One and instructed the agent that he wished for Credit One to

stop calling him and that he was getting an attorney as to the harassing calls.

        25.    Due to the tremendous amount of automated calls Plaintiff received to his cellular

telephone from Credit One, he was not able to properly catalogue each and every call, however

attached hereto as Exhibit "1" is a small sampling of the calls he received.

        26.    Credit One has a corporate pohcy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as it did to Plaintiffs cellular telephone in

this case.


        27.    Credit One has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice just as it did to Plaintiffs cellular telephone in this case, with no

way for the consumer. Plaintiff, or Credit One., to remove the number.

        28.    Credit One's corporate policy is structured so as to continue to call individuals

like Plaintiff, despite these individuals explaining to Credit One that they wish for the calls to

stop.

        29.     Credit One has numerous other federal lawsuits pending against it alleging similar

violations as stated in this Complaint.
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       30.     Credit One has numerous complaints across the country against it assertmg that its

automatic telephone dialing system continues to call despite being requested to stop.

       31.     A very small sampling of online complaints dating as far back as July, 2013

regarding one of the numbers Credit One autodialed Plaintiff from, 602-282-1664, is attached

hereto as Exhibit "2."

       32.     A very small sampling of online complaints dating as far back as November, 2013

regarding one of the numbers Credit One autodialed Plaintiff from, 310-359-6415, is attached

hereto as Exhibit "3."


       33.     Credit One's corporate policy provided no means for Plaintiff to have his number

removed from the call list.

       34.     Credit One has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

       35.     Plaintiff did not expressly consent to Credit One's placement oftelephone calls to

Plaintiffs cellular telephone by the use of an automatic telephone dialing system or a pre

recorded or artificial voice prior to Credit One's placement ofthe calls.

       36.     Not a single call placed by Credit One to Plaintiff were placed for "emergency

purposes" as specified in 47 U.S.C. § 227(b)(1)(A).

       37.     Credit One willfully and/or knowingly violated the TCPA with respect to

Plaintiff


                                            COUNT I
                                     (Violation of the TCPA)

38.    Plaintiff incorporates above paragraphs one (1) through thirty-seven (37) herein.
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39.    Defendant willfully violated the TCPA with respect to Plaintiff, especially for each of the

auto-dialer calls made to Plaintiffs cellular telephone after Plaintiff notified Defendant that

Defendant was to stop calling Plaintiff.

40.    Credit One repeatedly placed non-emergency telephone calls to Plaintiffs cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiffs prior express consent in violation of federal law, including 47 U.S.C §

227(b)(l)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Credit One for statutory damages, punitive damages, actual damages, costs,

interest, enjoinder from further violations of these parts and any other such relief the court may

deem just and proper.

                                           COUNT II
                                    (Violation of the FCCPA)

41.    Plaintiff incorporates above paragraphs one (1) through thirty-seven (37) herein.

42.    At all times relevant to this action Credit One is subject to and must abide by the law of

Florida, including Florida Statute § 559.72.

43.     Credit One has violated Florida Statute § 559.72(7) by willfully communicating with the

debtor or any member of his or her family with such frequency as can reasonably be expected to

harass the debtor or his or her family.

44.     Credit One has violated Florida Statute § 559.72(7) by willfully engaging in other

conduct which can reasonably be expected to abuse or harass the debtor or any member of his or

her family.

45.     Credit One's actions have directly and proximately resulted in Plaintiffs prior and

continuous sustaining of damages as described by Florida Statute § 559.77.

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       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Credit One for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

                                             Respectfully submitted,

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